         Case 2:23-cv-01904-JHS Document 19 Filed 11/01/23 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ALPHONSO NICHOLAS FAGGIOLO,

                          Plaintiff,
                                                              CIVIL ACTION
        v.                                                    NO. 23-1904

 COUNTY OF DELAWARE et al.,

                          Defendants.


                                           ORDER

       AND NOW, this 31st day of October 2023, in accordance with the statements of the Court

made on the record at the October 31, 2023 hearing with Plaintiff and counsel for Defendants, it

is ORDERED that the parties submit supplemental memorandum by November 30, 2023 as

requested by the Court.



                                                   BY THE COURT:



                                                   /s/ Joel H. Slomsky
                                                   ______________________________
                                                   JOEL H. SLOMSKY, J.
